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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


ALBERTO HERNANDEZ,
                                          Civil Action No. 19-6089
                 Plaintiff,

           v.
                                             ORDER TO SHOW CAUSE

BOARDWALK 1000, LLC, d/b/a/
HARD ROCK HOTEL & CASINO
ATLANTIC CITY,

                 Defendant.



HILLMAN, District Judge

      WHEREAS this action is one of eight filed by Plaintiff

Alberto Hernandez (“Plaintiff”) on or about February 18, 2019

alleging that hotels in the southern part of New Jersey violated

the Americans with Disabilities Act, Title III, 42 U.S.C. §

12181 et seq. (“ADA”); and

      WHEREAS in all eight matters, Plaintiff alleges that he

cannot walk without the use of assistive devices as a result of

a partial leg amputation, and specifically pleads that he “has

decided to become an activist for ADA [c]ompliance so that

places of public accommodation comply with the law.”          See, e.g.,

(ECF No. 1 (“Comp.”) at ¶16); and

      WHEREAS Plaintiff seeks an Order directing the Defendants

to fix the properties’ reservation websites “so that [they are]



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compliant with the ADA[.]”      (Comp. at ¶52).     Plaintiff contends

that the websites do not currently permit him to determine

whether each property has disability accommodations meeting his

needs; and

      WHEREAS courts “are required to raise issues of standing

sua sponte if such issues exist.”        Bock v. Pressler & Pressler,

LLP, 658 F. App’x 63, 64 (3d Cir. 2016) (citing Steele v.

Blackman, 236 F.3d 130, 134 n.4 (3d Cir. 2001)).          “If plaintiffs

do not possess Article III standing . . . the District Court . .

. lack[s] subject matter jurisdiction to address the merits of

plaintiffs’ case.”     Storino v. Borough of Point Pleasant Beach,

322 F.3d 293, 296 (3d Cir. 2003) (citation omitted); and

      WHEREAS “To establish Article III standing, a plaintiff

must have ‘(1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3)

that is likely to be redressed by a favorable judicial

decision.’”    Mielo v. Steak `n Shake Operations, Inc., 897 F.3d

467, 478 (3d Cir. 2018) (citations omitted).         As “[t]he party

invoking federal jurisdiction,” a plaintiff “bears the burden of

establishing these elements.”       Id. (quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555 (1992)); and

      WHEREAS “The primary element of standing is injury in fact,

and it is actually a conglomerate of three components”: (1) “‘an

invasion of a legally protected interest”; (2) a “‘concrete and


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particularized’” injury; and (3) an injury that is “‘actual or

imminent, not conjectural or hypothetical.’”         Mielo, 897 F.3d at

478 (citations omitted); and

      WHEREAS it appears to this Court that Plaintiff has not

pled an injury in fact.      In Murray v. Lifetime Brands, Inc., No.

16-cv-5016, 2017 WL 1837855 (D.N.J. May 8, 2017), the

plaintiff’s claim was premised on an “‘unlawful denial of access

to information subject to disclosure.’”        Id. at *3 (quoting In

re: Nickelodian Consumer Privacy Litig., 827 F.3d 262, 273-74

(3d Cir. 2016)).     In Murray, this Court held that the plaintiff

had not established an injury in fact, explaining,

“[c]ritically, what Murray fails to do, however, is identify the

harm that resulted from allegedly not knowing what she asserts

the [law] requires [defendant] to tell her.”         Id. at *4; and

      WHEREAS on October 4, 2019, the Honorable Robert B. Kugler,

U.S.D.J. issued an Opinion and Order finding that Plaintiff

lacked standing in one of the eight related cases, Hernandez v.

Caesars License Co., LLC, No. 19-6090, 2019 WL 4894501, at *1

(D.N.J. Oct. 4, 2019) (“Defendant contends that Plaintiff lacks

constitutional standing to bring this suit. After fully

evaluating the allegations in Plaintiff’s Amended Complaint, the

Court GRANTS Defendant’s Motion to Dismiss.”); and

      WHEREAS on December 4, 2019, the Honorable Renee Marie

Bumb, U.S.D.J. issued an Opinion and Order reaching the same


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conclusion in a pair of related actions, Hernandez v. Caesars

License Co., LLC, No. 19-6087, 2019 WL 6522740 (D.N.J. Dec. 4,

2019); Hernandez v. Caesars License Co., LLC, No. 19-6088, 2019

WL 2019 WL 6522740 (D.N.J. Dec. 4, 2019); and

      WHEREAS in light of the Orders issued by Judges Kugler and

Bumb, this Court will Order Plaintiff to Show Cause as to why

this Court should not adopt those decisions in this related

action;

      THEREFORE,

      IT IS HEREBY on this      9th       day of   December   , 2019

      ORDERED that Plaintiff shall have fifteen (15) days to show

cause why this case should not be dismissed for lack of Article

III standing and why this Court should not adopt the decisions

in Hernandez v. Caesars License Co., LLC, No. 19-6090, 2019 WL

4894501, at *1 (D.N.J. Oct. 4, 2019); Hernandez v. Caesars

License Co., LLC, No. 19-6087, 2019 WL 6522740 (D.N.J. Dec. 4,

2019); and Hernandez v. Caesars License Co., LLC, No. 19-6088,

2019 WL 2019 WL 6522740 (D.N.J. Dec. 4, 2019); and it is further

      ORDERED that upon receipt of Plaintiff’s submission in

response to this Order to Show Cause, the Court may direct a

response from Defendant.



                                            s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.



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